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 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                       LOS ANGELES DIVISION
11 In re                                               Case No. 2:21-bk-16674-ER

12 JINZHENG GROUP (USA) LLC,                           Chapter 11

13                     Debtor and Debtor-in            STATUS REPORT RE:
                       Possession.
14                                                     ORDER GRANTING DEBTOR’S
                                                       MOTION TO AUTHORIZE SALE OF
15                                                     REAL PROPERTY COMMONLY
                                                       KNOWN AS 6840 DE CELIS PLACE, APT
16                                                     9, VAN NUYS, CALIFORNIA 91406 FREE
                                                       AND CLEAR OF LIENS [Docket No. 387]
17
                                                       Hearing Date, Time, and Place
18                                                     Date:    October 24, 2022
                                                       Time:    11:00 a.m.
19                                                     Place: Courtroom 1568
                                                                255 E. Temple Street
20                                                              Los Angeles, California 90012

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 1            At the conclusion of the above mentioned hearing regarding the Motion to Authorize Sale

 2 of Real Property Commonly Known as 6840 De Celis Place, Apt 9, Van Nuys, California 91406

 3 Free and Clear of Liens, docket no. 387 (the “Motion”), filed by Jinzheng Group (USA) LLC (the

 4 “Debtor”), the Court directed the Debtor to meet and confer with the objecting secured creditors

 5 regarding the form of the order and submit a proposed order within one week of that date. The

 6 parties have been communicating regarding the form of the order, but have not yet concluded their

 7 efforts to meet and confer. The Debtor intends to submit a form of order as soon as possible after

 8 completing its effort to meet and confer with the other parties.

 9

10 DATED: October 31, 2022                     DANNING, GILL, ISRAEL & KRASNOFF, LLP

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12
                                               By:          /s/ Zev Shechtman
13                                                   ZEV SHECHTMAN
                                                     Attorneys for General Bankruptcy Counsel for
14                                                   Jinzheng Group (USA) LLC, Debtor and Debtor in
                                                     Possession
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): STATUS REPORT RE: ORDER GRANTING
DEBTOR’S MOTION TO AUTHORIZE SALE OF REAL PROPERTY COMMONLY KNOWN AS 6840 DE CELIS
PLACE, APT 9, VAN NUYS, CALIFORNIA 91406 FREE AND CLEAR OF LIENS [Docket No. 387] will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On October 31, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On (date)                                 , I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 31, 2022                        Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


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        bestcase.com

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